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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RUDY ROSENBERG; JACQUELINE
ROSENBERG; ELTHA JORDAN,

                                 Plaintiffs,                           20-CV-3911
                     -against-                                  ORDER OF DISMISSAL
CITY OF NEW YORK, et al.,

                                 Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated August 12, 2020, the Court directed Plaintiffs, within thirty days, to

submit completed requests to proceed in forma pauperis (“IFP applications”) or pay the $400.00

in fees required to file a civil action in this Court. That order specified that failure to comply

would result in dismissal of the complaint. Plaintiffs have not filed IFP applications or paid the

fee. 1 Accordingly, the complaint is dismissed without prejudice. See 28 U.S.C. §§ 1914, 1915.

         The Clerk of Court is directed to mail a copy of this order to Plaintiffs and note service

on the docket. The Clerk of Court is further directed to process the notices of appeal submitted to

the Court on August 9, 2020. (ECF 14.)

SO ORDERED.

Dated:     September 14, 2020
           New York, New York

                                                                  Louis L. Stanton
                                                                     U.S.D.J.




1
  The Court also directed Jacqueline Rosenberg and Eltha Jordan to file motions to reopen, which
they did not do.
